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Attorney at Law

May 3, 2023

Mrs. Elaina Massey
Chapter 13 Trustee
Post Office Box 1717
Brunswick, GA 31521

Re: Christina Cooper
Case No: 22-50304

Dear Mrs. Massey:
Please issue payroll deduction to Debtor’s place of employment to the address is as follows:

Attention: Payroll Department
GIBSON MCDONALD
395 BONNEYMAN RD.
BLACKSHEAR, GA 31516

any questions regarding this matter please contact my office. Thanks for your

 

P.O. Box 2377 Phone (912)383-6132
Fax: (912)383-9634

Douglas, Georgia 31534
email: thaveslaw@yahoo.com

 
